Case 3:17-cv-00072-NKM-JCH Document 946 Filed 04/26/21 Page 1 of 6 Pageid#: 16147
Case 3:17-cv-00072-NKM-JCH Document 946 Filed 04/26/21 Page 2 of 6 Pageid#: 16148
Case 3:17-cv-00072-NKM-JCH Document 946 Filed 04/26/21 Page 3 of 6 Pageid#: 16149
Case 3:17-cv-00072-NKM-JCH Document 946 Filed 04/26/21 Page 4 of 6 Pageid#: 16150
Case 3:17-cv-00072-NKM-JCH Document 946 Filed 04/26/21 Page 5 of 6 Pageid#: 16151
2-NKM-JCH Document 946 Filed 04/26/21 Page 6 of
